Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                     Desc: Main
                          Document Page 1 of 11



                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO


 IN RE:                                            Case No.:21-00066-ESL

 LIZETTE ALEJANDRO PENA                               Chapter 7

       Debtor.
 _____________________________/

    TRUSTEE’S MOTION FOR DISGORGEMENT OF ATTORNEY’S FEES AND TO
                        RETAIN JURISDICTION

 TO THE HONORABLE COURT:

         COMES NOW, Chapter 7 Trustee, Noreen Wiscovitch-Rentas, and respectfully requests

 for the Court to order Debtor’s counsel to disgorge the fees she may had received in this Chapter

 7, and in support, states:


         1. On January 17, 2021, the Debtor filed a Voluntary Petition under Chapter 7 of the

             Bankruptcy Code. The undersigned was appointed interim Trustee on January 18,

             2021. See Dkt. Nos. 1 and 5.

         2. The Meeting of Creditors was held on February 11, 2021. At the meeting of creditors,

             the United States Trustees Office’s analysts were present. The Meeting was continued

             to March 3, 2021 at 9:00 am. At the initial Meeting, the Trustee determined that there

             was one realty to administer and that in order to administer the same, additional

             documents and time was needed to interview the Debtor regarding the information

             provided in the Schedules and a realty located at Bo. Lirios in Juncos. The day prior

             to the continued meeting on March 2, 2021, Debtor’s Counsel requested the meeting to

             be continued and to be allowed time to file a motion to resign from the case.




                                                  1
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                   Desc: Main
                          Document Page 2 of 11



       3. Neither, the Debtor nor her counsel appeared at the continued meeting of creditors set

          for March 3, 2021. The meeting was not concluded and the Trustee has continued the

          same SINE DIE until a determination of this court on the Motion to Resign and this

          Motion.

       4. Amongst the items requested from the Debtor and her counsel at the initial meeting

          were the keys to the realty located in Bo. Lirios in Juncos, Puerto Rico. At the initial

          Meeting of Creditors, counsel and the Debtor, both had indicated to the Trustee that the

          keys would be available the next day.

       5. The day after the Meeting of Creditors held on February 11, 2021, the Trustee sent Mr.

          Mario Muniz, the realtor in this case, to pick up the keys and visit the premises. (See

          Dkt. Nos. 15 and 23). Later, the Trustee learned from the Estate’s Realtor, that the

          keys were not provided by Debtor’s counsel and that when he drove by the property,

          he found that the same was occupied by individuals who did not know the Debtor.

       6. Upon learning of this situation, the Trustee then requested an explanation from

          Debtor’s counsel regarding the status of the property and the turnover of the keys.

          Further, the Trustee also requested for the Debtor to remove the individual from the

          premises, whom alleged not knowing her. In fact, the Trustee came to assume that they

          were squatters and had illegally taken over the realty.

       7. On February 19, 2021, the Debtor amended the schedules to disclose, amongst other

          things, that the Debtor received monthly rents of $450.00 and has received said amount

          monthly during the 6 months prior to Bankruptcy.

       8. The Debtor failed to disclosed under oath at the 341 Meeting of Creditors that the

          property was subject to a “rental agreement” and the fact that she was receiving rents.



                                               2
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                       Desc: Main
                          Document Page 3 of 11



          To the contrary, the Debtor testified under oath that the property was vacant. The rents

          are property of the Bankruptcy Estate, to date no rents have been received by the

          Trustee. Further, at the meeting of creditors and under oath, the Trustee asked the

          Debtor if she had reviewed the Schedules and if there was any missing information, to

          which she stated that there was none.

       9. On March 3, 2021, Debtor’s counsel Ms. Lyssette A. Morales Vidal, of L.A. Morales

          and Associates PSC, filed a Request for Leave to Withdraw as Attorney for Debtor.

          See Dkt. No. 19. Counsel cites “Irreconcilable differences” as the reason for the

          withdrawal.

       10. This Motion is to request the disgorgement of Counsel Morales Vidal fees in the

          amount of $1,950.00, IF counsel received these fees after the filing of the Petition. See

          Form B2030 (Rule 2016(b) Statement) attached as “Exhibit A”.

                                BANKRUPTCY ATTORNEY’S DUTIES

       11. Rule 1008 of the Federal Rules of Bankruptcy Procedure require for all petitions, lists,

          schedules, statements, and amendments thereto be verified or contain an unsworn

          declaration provided in 28 U.S.C. §1746.

       12. “The veracity of the bankrupt’s statements is essential to the successful administration

          of the Bankruptcy Act.” In re Chalik, 748 F.2d 616, 618 (11th Cir. 1984), citing Diorio,

          407 F.2d at 1331. “This circuit has also said that a discharge pursuant to 11 U.S.C.

          Sec. 727(a)(4)(A) should not be granted where the debtor knowingly and fraudulently

          made a false oath or account in connection with the bankruptcy proceeding. In re

          Raiford, 695 F.2d 521, 522 (11th Cir.1983). Deliberate omissions by the debtor may

          also result in the denial of a discharge. Id.” Id. “ [T]he petition, including the schedules



                                                 3
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                     Desc: Main
                          Document Page 4 of 11



          and statements, must be accurate and reliable without the necessity of digging out and

          conducting independent examinations to get the facts.” Mertz v. Rott, 955 F.2d 596,

          598 (8th Cir. 1992). See Also, Van Robinson v. Worley, 849 F.3d 577(4th Cir.2017)

          “Pursuant to this rather capacious standard, the bankruptcy court did not err in finding

          that Worley's misstatement was material. Worley's undervaluation of his only

          significant, non-exempt asset by many thousands of dollars is undeniably "relevant" to

          his estate and assets. Indeed, by lowballing his interest in Gemini, Worley sent a

          message to the trustee and creditors that there was no reason to conduct any further

          investigation into the property. As we noted earlier, this sort of concealment

          undermines the efficient administration of the bankruptcy estate. Neither the trustee nor

          the creditors should have to absorb themselves in a painstaking struggle of "digging

          out and conducting independent examinations to get the facts." Mertz v. Rott , 955 F.2d

          596, 598 (8th Cir. 1992)” Van Robinson at 587.

       13. As officers of the court, debtor’s attorney owe a duty to the integrity of the bankruptcy

          system to “…(1) explain the requirement of full, complete, accurate, and honest

          disclosure of all information required of a debtor; (2) ask probing and pertinent

          questions designed to elicit full, complete, accurate, and honest disclosure of all

          information required of a debtor; (3) check the debtor’s responses in the petition and

          [s]chedules to assure they are internally and externally consistent; and (4) demand of

          the debtor full, complete, accurate, and honest disclosure of all information required

          before the bankruptcy attorney signs and files the petition; and (5) seek relief from the

          court in the event that attorney learns that he or she may have been misled by a debtor.”




                                                4
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                    Desc: Main
                          Document Page 5 of 11



          In re Armwood, 175 B.R. 779, 789 (Bankr. N.D.Ga 1994) citing In Re Mattews, 154

          B. 673 (Bankr. W.D. Tex 1993) other citations omitted.

       14. “Congress emphasized its concern with full and complete disclosures by debtors and

          their counsel when it enacted the 2005 BAPCPA amendments. Those amendments

          added provisions which impose new duties on debtor’s attorneys in connection with

          the filing of the bankruptcy petition and schedules.” In re Varan, 2014 WL 2881162

          at *8 (Bankr.N.D. Ill, June 24, 2014).

       15. Bankruptcy Code Section 707(b)(4)(C) provides that an attorney’s signature on a

          petition, pleading, or written motion constitute a certification that the attorney has

          determined that the petition, pleading, or written motion is well grounded in fact.

       16. “Their general drift is clear [of Section 707(b)(4)]: [D]ebtors’ counsel are to exercise

          significant case as to the completeness and accuracy of all recitations on their clients

          schedules, after they have made a factual investigation and legal evaluation that

          conforms to the standards applicable to any attorney filing a pleading, motion, or other

          document in a federal court.” In re Winthrow, 405 B.R. 505, 512 (B.A.P. 1st Cir. 2009)

          citing In re Robertson, 370 B.R. 804, 809 (Bank. D. Minn 2007).

       17. “But as a minimum, it is clear that an attorney may not just simply rely on information

          provided by a client without independently verifying publicly available facts.

          Beinhauer, 570 B.R. at 137; In re Seare, 493 B.R. 158, 211 (Bankr. D. Nev. 2013). An

          attorney must investigate any inconsistencies by asking more questions or seeking

          additional documents. Id. “[T]he attorney is the expert and cannot rely upon a client’s

          limited understanding of what constitutes the ‘complete’ or ‘necessary’ information




                                                5
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                    Desc: Main
                          Document Page 6 of 11



          that the attorney must have[.]” Seare, 493 B.R. at 211.”’ In re Tatro, No. 19-70537,

          2020 WL 534715 (Bankr. C.D. IL, Jan. 31, 2020).

       18. “To ensure complete and accurate disclosure, it is critical that bankruptcy debtors

          review the petition, schedules and statement of financial affairs prior to signing such

          documents under penalty of perjury. As observed by the Bankruptcy Appellate Panel

          of the Ninth Circuit:

          Schedules and statements of financial affairs are sworn statements, signed by debtors

          under penalty of perjury. Adopting a cavalier attitude toward the accuracy of the

          schedules and expecting the court and creditors to ferret out the truth is not acceptable

          conduct by debtors or their counsel. AT & T Universal Card Servs. Corp. v. Duplante

          ( In re Duplante ), 215 B.R. 444, 447 n. 8 (9th Cir. BAP 1997).   A debtor's compliance

          with the requirements of the Bankruptcy Code is therefore essential in order to receive

          the protections afforded in bankruptcy.” In re Jakovljevic-Ostojic, 517 B.R. 119

          (Bankr. N.D. Ill. 2014)

                                  ATTORNEY’S CONDUCT AND FEES

       19. Debtor’s counsel filed a statement required under Section 329 of the Bankruptcy Code

          which is attached as Exhibit “A”. The Debtor also disclosed in the Statement of

          Financial Affairs the amount paid to her counsel. See Dkt. No. 1 and page no. 44 of

          71 of Dkt. No. 1 attached as Exhibit “B”.

       20. “Section 329 requires the attorney to show that the agreed compensation for legal

          services is reasonable.” In re Mahendra, 131 F.3d 750, 757 (8th Cir. 1997) citations

          omitted. When reviewing an attorney’s fees pursuant to section 329, the burden of




                                                6
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                    Desc: Main
                          Document Page 7 of 11



          proof on all issues is on the attorney who has to establish that the fees are reasonable.

          See In re Henkel, 408 B.R. 699, 701 (Bankr. N.D. Ohio 2009)(Citations Omitted) .

       21. This Court is tasked in determining whether there is reasonable value of services

          provided by Debtor’s attorney. See In re Henkel, 408 B.R. 699.         “In reviewing an

          attorney’s fee to determine whether it is reasonable under the circumstances the court

          must consider the nature of the services and the competence of the performance.

          [citations omitted] and it also must be guided by ethical considerations” In re Grant, 14

          B.R. 567, 569 (Bankr. S.D.N.Y. 1981)

       22. The Court may disallow or reduce the fee charged by an attorney who does not

          adequately inquire as to the accuracy of information reported in the debtor’s papers. In

          re Dean, 401 B.R. 917 (Bankr. D. Idaho 2008).

       23. An attorney's requested compensation "may be reduced if the court finds that the work

          done was excessive or of poor quality." 3 Collier on Bankruptcy ¶ 329.04, citing Hale

          v. U.S. Trustee, 509 F.3d 1139 (9th Cir. 2007) (bankruptcy petition incomplete and

          erroneous requiring extensive amendments); In re Lee, 495 B.R. 107, 113–14 (Bankr.

          D. Mass. 2013) (explaining how the court may order disgorgement of all fees “[w]hen

          an attorney ineptly or incompetently renders services on behalf of debtors the court

          may order to disgorgement of all fees pursuant to §329" or may reduce fees if the work

          done was of poor quality); In re Sponhouse, 477 B.R. 147, 154– 55 (Bankr. D. Nev.

          2012) (quoting treatise and finding that compensation was excessive when "services

          were deficient and of poor quality" and counsel's representation of debtor "reflects both

          a lack of competence and diligence"). See also In re Grant, supra.




                                                7
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                     Desc: Main
                          Document Page 8 of 11



       24. This Court has stated that prepetition counseling “is a critical and an integral part of

          bankruptcy assistance” and that “[a]ttorneys must explain the benefits, burdens, and

          consequences of bankruptcy to their clients to the extent reasonably necessary to permit

          informed decisions about the case.” In re Pereira Santiago, 457 B.R. 172, 176 (Bankr.

          D.P.R. 2011) (Citations Omitted) .

                                            DISGORGEMENT

       25. The Statement of Financial Affairs shows that the Debtor paid her counsel the amount

          of $1,950.00 on January 15, 2021.         However, in Debtor’s Counsel’s disclosure as

          required by Rule 2016(b), it shows that prior to filing the Petition, she had not received

          any compensation, but that she had agreed to receive $1,950.00, “Post Petition”. A

          fact, that would had made these fees dischargeable (in Chapter 7), if in fact Counsel

          did not receive the funds pre-petition.    See Exhibits A and B.

       26. The Trustee does not know which of the two statements is correct as the same are

          contradictory.   As stated in the above caselaw, accuracy of the Schedules and

          documents submitted to the Court is indispensable for the proper administration of the

          Estate.

       27. Less than two months after filing the Petition, Counsel for the Debtor is requesting to

          resign from the case.     Leaving the Debtor without legal representation in these

          proceedings and the Bankruptcy Estate is left with extensive (and perhaps expensive)

          litigation to pursue an (1) objection to Debtor’s discharge and (2) to evict unknown

          individuals in property of the Bankruptcy Estate in order to sell the same.




                                                8
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33                        Desc: Main
                          Document Page 9 of 11



        28. Having counsel leave the Debtor to fend for herself, does not justify the payment of

            $1,950.00 in fees. These fees, if they were received by Debtor’s counsel, should be

            disgorged.

        WHEREFORE, the Trustee, respectfully requests for the Court to order the disgorgement

 of Debtor’s Attorney’s fees, if any, received Pre or Post Petition in the amount of $1,950.00 and

 retain jurisdiction over Counsel for Debtor until this motion is determined and for any further relief

 this Court deems just and proper under the circumstance.

                                                 NOTICE
         Within Fourteen (14) days after service as evidenced by the certification, and an additional
 3 days pursuant to F.R.B.P. 9006(f) if you were served by mail, any party against whom this paper
 has been served, or any other party to the action who objects to the relief sought herein, shall serve
 and file an objection or other appropriate response to this paper with the Clerk’s office of the U.S.
 Bankruptcy Court for the District of Puerto Rico. If no objection or other response is filed within
 the time allowed herein, the objection will be deemed unopposed and may be granted unless: (1)
 the requested relief is forbidden by law; (2) the requested relief is against public policy; or (3) in
 the opinion of the court, the interest of justice requires otherwise. If you file a timely response,
 the court may, in its discretion, schedule a hearing.


        I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent to

 Debtor’s counsel, Lyssette A. Morales at lamoraleslawoffice@gmail.com and to Debtor, Lizette

 Alejandro Pena, at her mailing address of Paseos de la Ceiba, 182 Calle Arce D2, Juncos, PR

 00777 on this 15th of March, 2021.

                                          /s/ Noreen Wiscovitch-Rentas
                                         NOREEN WISCOVITCH-RENTAS
                                         CHAPTER 7 TRUSTEE
                                         PMB 136
                                         400 Kalaf Street
                                         San Juan, Puerto Rico 00918
                                         Tel. (787) 946-0132
                                          E-mail: noreen@nwr-law.com




                                                   9
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33   Desc: Main
                          Document Page 10 of 11
Case:21-00066-ESL7 Doc#:28 Filed:03/15/21 Entered:03/15/21 18:51:33   Desc: Main
                          Document Page 11 of 11
